UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FCS ADVISORS, LLC,

                                   Plaintiff,

             —against—                                    21 Civ. 6995 (PKC)
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”; THEIA
AVIATION, LLC; and THEIA HOLDINGS
A, INC., d/b/a “THORIAN HOLDINGS,”


                                Defendants.



                 FOURTH INTERIM REPORT OF RECEIVER

            (For the Period from April 23, 2022 through June 23, 2022)


                           Kurt F. Gwynne (No. 5605206)
                         Christopher A. Lynch (No. 4243655)
                                599 Lexington Avenue
                            New York, New York 10022
                             Telephone: (212) 521-5400
                              Facsimile: (212) 521-5450
                          E-mail: kgwynne@reedsmith.com
                               calynch@reedsmith.com

                                        - and -

                     Jason D. Angelo, Esq. (admitted pro hac vice)
                           1201 N. Market Street, Suite 1500
                             Wilmington, Delaware 19801
                              Telephone: (302) 778-7500
                              Facsimile: (302) 778-7575
                           E-mail: jangelo@reedsmith.com

              Counsel for Michael Fuqua, in his capacity as Receiver of
          Theia Group, Inc., Theia Aviation LLC, and Theia Holdings A, Inc.
       Michael Fuqua, Court-appointed receiver (the “Receiver”) for Theia Group, Inc. (“TGI”),

Theia Aviation LLC, and Theia Holdings A, Inc. (collectively, the “Receivership Entities”),

respectfully submits this Status Report (the “Report”) for the period of April 23, 2022 through

June 23, 2022 (the “Reporting Period”) in accordance with the Order of this Court entered on

November 8, 2021, and for the purpose of reporting the status of the Receiver’s work and findings

during the Reporting Period. The facts presented in this Report are preliminary and may be

amended and changed as the Receiver’s investigation continues. This Report supplements the

(i) initial status report (Doc. 135) submitted to the Court on December 22, 2021, (ii) second status

report submitted to the Court on February 22, 2022 (Doc. 216), and (iii) third status report

submitted to the Court on April 25, 2022 (Doc. 229). This Report includes the preliminary

assessment of the Receiver’s counsel, Reed Smith LLP (“Reed Smith”) and King & Spalding LLP

(“K&S”), as well as the consultants and advisers retained by the Receiver’s counsel, including

GlassRatner Advisory & Capital Group, LLC d/b/a B. Riley Advisory Services (“B. Riley”) and

PJT Partners, LP.

I.     PROTECTING THE RECEIVERSHIP ESTATE ASSETS

       A. Accounting for Assets in Riverside, California

       The Receivership Entities continue to lease significant hangar (6,400 square feet) and

office (2,500 square feet) space at the Riverside, California airport, from which Theia Aviation

LLC operated. Numerous assets of the Receivership Entities, including a partially dismantled

1996 Jetstream 4100 aircraft and various aviation-related technological parts, are located onsite in

the Riverside hangar. During the Reporting Period, the Receiver’s team conducted an on-site visit

to itemize all assets located at the hangar and prepared a detailed report of such assets.
       B. Financial & Accounting Records

       The Receiver requested and obtained additional documents from Wells Fargo Bank,

National Association in connection with a previously issued subpoena duces tecum served

pursuant to Rule 45 of the Federal Rules of Civil Procedure. These documents included account

records (including details of wire transfers, account and credit card/line of credit statements, and

other related information) relating to certain checking and credit card accounts previously

identified by the Receiver as being held at each respective financial institution in the name of TGI.

       C. Federal Communications Commission

       The Receiver continues to maintain open lines of communication with the Federal

Communications Commission (the “FCC”). Akin Gump Strauss Hauer & Feld LLP continues to

represent the Receiver in connection with matters before the FCC and the Committee on Foreign

Investment in the United States (“CFIUS”) and provides periodic updates to the FCC and/or

CFIUS regarding the receivership case.

       D. Intellectual Property

       The Receiver continues to work with Frank J. Bonini, Jr., Esq. of Bonini Law to protect

the Receivership Entities’ domestic and international intellectual property filings (i.e., trademarks

and patents) by insuring the payment of renewal and other required fees and amounts due.

       E. Executory Contracts, Leases, and Employment Agreements

       The Receiver and his team have completed their review of substantially all of the 160

executory contracts, leases, and employment agreements to which the Receivership Entities are

party and have conducted an assessment of the preliminary amounts believed to be due to third

parties under the various agreements. In connection with creating a data room for potential

purchasers, the Receiver and his team reviewed numerous third-party agreements and analyzed




                                                -3-
their confidentiality provisions to ensure third-party approvals where necessary to avoid any

inadvertent breaches of confidentiality. The Receiver has contacted certain of the contract

counterparties for permission to share certain confidential information in connection with the

ongoing sale process.

II.    DISPOSITION OF RECEIVERSHIP ESTATE ASSETS

       A. FCC and NOAA Licenses

       During the Reporting Period, the Receiver continued to engage in negotiations with an

interested party to become the “stalking horse” bidder (the “Potential Stalking Horse”) for the

assets of the Receivership Entities, including the spectrum license (the “FCC License”) granted to

TGI by the FCC and the license granted to TGI by the National Oceanic and Atmospheric

Administration (the “NOAA License”). Since the commencement of these negotiations, the

Potential Stalking Horse has made modifications with respect to its counsel and funding sources.

These changes have delayed further negotiations and the drafting of sale-related documents. These

delays likely will necessitate an extension of the receivership beyond July 15, 2022 to

accommodate an orderly sale process.

       In addition to the Potential Stalking Horse, other parties have indicated an ongoing interest

in bidding on some or all of the Receivership Entities’ assets. For example, during the Reporting

Period, another entity interested in purchasing the Receivership Entities’ assets began negotiating

directly with various creditor constituencies in order to facilitate the submission of their bid. One

party that previously expressed an interest in becoming the stalking horse bidder determined not

to pursue the opportunity as a stalking horse.




                                                 -4-
          B. Aviation Assets

          The Potential Stalking Horse and certain other interested parties have indicated an intent

to purchase the Receivership Entities’ aircraft (one non-functional plane and one functional plane

formerly leased to a third party, but now securely parked at Basler Aviation in Oshkosh,

Wisconsin), sensing equipment, and a contract for the production of three (3) aircraft with a

substantial deposit (collectively, the “Aviation Assets”), along with the FCC License and the

NOAA License. The Receiver also engaged three (3) appraisers to determine the value of the

functional aircraft and received a range of values from each. To the extent the ultimate purchaser

of the FCC License and/or the NOAA License does not wish to purchase the Aviation Assets, the

Receiver will re-initiate discussions with parties that seek to purchase only the Aviation Assets

and related equipment.

          C. De Minimis Assets

          As set forth in the Notice of De Minimis Asset Sale (Doc. 238), the Receiver consummated

the sale of a printer and copier located on the Receivership Entities’ former New Mexico premises

for $8,400 to Lutgen & Associates, Inc. d/b/a Document Technologies, a third party with no known

relationship to the Receivership Entities.

III.      PRELIMINARY FORENSIC ANALYSIS / RECONCILIATION

          During the Reporting Period, the Receiver and his advisors continued their forensic

accounting activities with regard to the following areas:

       A. “Friends and Family” Notes Analysis

          During the Reporting Period, the Receiver and his team remained in contact with counsel

for holders of certain Friends & Family notes. The Receiver and B. Riley successfully completed

an initial analysis and cash reconciliation of the “Friends and Family” notes. Summarily, the




                                                 -5-
results of the Receiver’s preliminary analysis reflect that the Receivership Entities received

approximately $75 million in connection with 262 “Friends and Family” notes issued by the

Receivership Entities.

      B. Trade Vendor & Contractor Accounts Payable

         The Receiver and B. Riley have completed an initial analysis of amounts due to trade

vendors and contractors based on contracts that have thus far been located.

IV.      ONGOING INVESTIGATIONS

         A. Department of Justice Investigation

         During the Reporting Period, at great expense to the Receivership Entities’ estates, the

Receiver continued to cooperate with the United States Department of Justice (“DOJ”) in

responding and producing documents related to four (4) broad grand jury subpoenas issued by the

United States District Court for the District of Columbia to produce certain documents, including

two (2) broad subpoenas issued to the Receivership Entities prior to the Receiver’s appointment.

The Receiver and his team continued to review the production to (i) ensure that the legal and

evidentiary privileges of the Receivership Entities remain intact and (ii) comply with any existing

agreements between the Receivership Entities and third parties to avoid disclosure of confidential

or proprietary information. This involved a substantial amount of work assembling, reviewing,

and producing tens of thousands of pages of documents with regard to the subpoenas and related

information requests. The Receiver and his team also liaised with DOJ representatives, counsel to

a former board member, and counsel to a former member of management regarding ongoing

document production and cooperation with the DOJ. The Receiver’s review and analysis of the

Receivership Entities’ files is ongoing, and documents are being produced on a rolling basis.




                                               -6-
        B. Counterclaims Against FCS and Its Affiliates

        On May 20, 2022, the Receiver, through K&S, filed a notice by which he voluntarily

dismissed (without prejudice) the counterclaims against FCS Advisors, LLC, Brevet Capital

Management, LLC, Mark Callahan, Robert Leeds, Leeds Holdings, LLC, and Strongbow

Holdings, LLC filed in the receivership case.

   V.        MISCELLANEOUS

        During the Reporting Period, the Receiver and his team conducted an extensive review and

analysis of minutes from meetings of TGI’s board of directors and other related documents

received in productions from law firms that previously represented the Receivership Entities.

        The Receiver and his team also responded to (i) a pre-motion letter regarding a request for

relief from the receivership stay by a former member of the Receivership Entities’ management

and (ii) a third-party subpoena issued to the Receivership Entities in connection with a dispute

involving a former member of management in New Mexico State Court.

        Finally, the Receiver and B. Riley, on the one hand, and Reed Smith, on the other hand,

filed their respective second applications for compensation and reimbursement of expenses with

the Court.



                  [The remainder of this page has been left intentionally blank.]




                                                -7-
Dated: June 23, 2022
       New York, New York
                                  Respectfully submitted,

                                  REED SMITH LLP


                            By:   /s/ Kurt F. Gwynne
                                  Kurt F. Gwynne (No. 5605206)
                                  Christopher A. Lynch (No. 4243655)
                                  599 Lexington Avenue
                                  New York, New York 10022
                                  Telephone: (212) 521-5400
                                  Facsimile: (212) 521-5450
                                  E-mail: kgwynne@reedsmith.com
                                           calynch@reedsmith.com

                                  - and -

                                  Jason D. Angelo, Esq. (admitted pro hac vice)
                                  1201 N. Market Street, Suite 1500
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 778-7500
                                  Facsimile: (302) 778-7575
                                  E-mail: jangelo@reedsmith.com

                                  Counsel for Michael Fuqua, in his capacity as
                                  Receiver of Theia Group, Inc., Theia Aviation LLC,
                                  and Theia Holdings A, Inc.




                                   -8-
